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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


   U NITED S TATES OF A MERICA
                                              Criminal Action No.
         v.
                                              1:20-CR-244-LMM-CMS
   Q UANTAVIOUS C EDRON A RNOLD


                   Government’s Proposed Voir Dire Questions

       The United States of America, by Kurt R. Erskine, Acting United States

Attorney, and Theodore S. Hertzberg and Leanne Marek, Assistant United States

Attorneys for the Northern District of Georgia, hereby submits its proposed voir

dire questions for prospective jurors, pursuant to Federal Rule of Criminal

Procedure 24(a).

                                       Respectfully submitted,

                                       K URT R. E RSKINE
                                          Acting United States Attorney


                                    /s/T HEODORE S. H ERTZBERG
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I.    QUESTIONS FOR EACH PROSPECTIVE JUROR

      Residence:

            1.     In what city and county do you live?

                   a.    How long have you lived there?

                   b.    What was your previous city and county of residence?

                   c.    How long did you live there?

      Employment:

            2.     What is your present occupation?

                   a.    If retired or currently unemployed: What was your
                         previous employment?

                   b.    If a homemaker: Have you ever been employed outside
                         of the home?

            3.     Have you ever served in the military?

                   a.    When and for how long?

      Education:

            4.     What is your educational background?

      Family:

            5.     Are you married, or do you have a live-in partner?

            6.     If married or living with a partner:

                   a.    What is your spouse’s or partner’s occupation?

                   b.    If your spouse or partner is presently retired or
                         unemployed, what was his or her previous employment?

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       7.    Do you have any children, including step-children?

             a.    How many?

             b.    What are their ages?

             c.    For any adult children (age 21 or older), what are their
                   occupations?

 Community activities

       8.    Do you belong to any social, civic, or professional
             organizations?

             a.    To which organizations do you belong?

 Knowledge of persons involved in and connected to litigation:

       9.    The United States is represented by Assistant United States
             Attorneys Theodore Hertzberg and Leanne Marek. Do any of
             you know Mr. Hertzberg or Ms. Marek?

             a.    Assisting Mr. Hertzberg and Ms. Marek is paralegal
                   specialist Sean Newsam? Do any of you know Mr.
                   Newsam?

             b.    Do any of you know any attorneys or other employees of
                   the United States Attorney’s Office for the Northern
                   District of Georgia?

       10.   Seated at counsel table with Mr. Hertzberg and Ms. Marek is
             Paul Costa, a Special Agent with the Federal Bureau of
             Investigation.

             a.    Do any of you know Special Agent Costa?

       11.   The defendant in this case is Quantavious Arnold.

             a.    Do any of you know Mr. Arnold?

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       12.    R. Gary Spencer represents the defendant.

              a.     Do any of you know Mr. Spencer?

       13.    Are any of you acquainted with any other members of this jury
              panel?

 Prior grand jury service:

       14.    Has any member of the panel ever served on a grand jury?

              a.     Was it a state or federal grand jury?

              b.     Were you the foreperson?

 Prior petit jury service:

       15.    Has any member of the panel ever served on a trial jury?

              a.     Were you the foreperson?

              b.     Did the jury reach a verdict?

 Prior exposure to criminal laws:

       16.    Has any member of the panel or a close friend or family
              member ever been suspected, arrested, charged, or convicted
              of a criminal offense, other than for a minor traffic violation?

              a.     Who was involved?

              b.     What type of crime?

              c.     What was the outcome?

              d.     Do you believe that you, your close friend, or your family
                     member was treated fairly?




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             e.     Is there anything about that experience that would affect
                    your ability to be fair and impartial in this case if you are
                    selected as a juror?

 Prior exposure to the courts:

       17.   Has any member of the panel or a close friend or family
             member ever had an unpleasant experience in court or
             involving prosecutors or other lawyers such that it stands out
             in your mind as you sit here today?

             a.     Who had the unpleasant experience?

             b.     What happened?

             c.     Do you believe that you, your close friend, or your family
                    member was treated fairly?

             d.     Is there anything about that experience that would affect
                    your ability to be fair and impartial in this case if you are
                    selected as a juror?

 Prior experience with law enforcement and the Government:

       18.   Has any member of the panel or a close friend or family
             member ever been employed by any law enforcement agency,
             such as the FBI, Atlanta Police Department, DeKalb County
             Police Department, any other police department, or a sheriff’s
             office?

             a.     Who was employed?

             b.     Which agency?

             c.     What was that person’s job title, and when was that
                    person employed there?




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       19.   Has any member of the panel or a close friend or family
             member ever been employed by the federal government?

             a.     Who was employed?

             b.     Which agency?

             c.     What was the person’s job title, and when was that
                    person employed there?

       20.   Has any member of the panel or a close friend or family
             member had an unpleasant experience with law enforcement?

             a.     What happened?

             b.     Is there anything about that experience that would affect
                    your ability to be fair and impartial in this case, if you are
                    selected as a juror?

 Prior litigation against a government entity:

       21.   Has any member of the panel or a close friend or family
             member been a party to a lawsuit or other proceeding involving
             either an agency of the United States or a state or local agency?

             a.     Who was involved?

             b.     What kind of case?

             c.     Were you, your close friend, or your family member, the
                    plaintiff or the defendant?

             d.     Was the matter resolved to your satisfaction?

             e.     Is there anything about that experience that would affect
                    your ability to be fair and impartial in this case if you are
                    selected as a juror?




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       22.   The FBI, Atlanta Police Department, DeKalb County Police
             Department, and Georgia Bureau of Investigation are the law
             enforcement agencies involved in the investigation of this case.
             Do you have any information or opinions about these law
             enforcement agencies, or any other federal, state, or local law
             enforcement agency, that could affect your ability to be a fair
             and impartial juror in this case?

 Legal experience:

       23.   Has any member of the panel or a close friend or family
             member ever received any legal training, practiced law, or
             worked in an attorney’s office, including any office specializing
             in criminal defense?

             a.      Who received the training?

             b.      Describe the type of training received.

             c.      What area of law does the person practice?

             d.      By whom is he or she employed?

 Experience with incarcerated persons:

       24.   Has any member of the panel ever visited a jail or prison,
             whether to visit someone incarcerated, to bail someone out of
             jail, as part of a prison outreach program, or for any other
             reason?

             a.      Is there anything about that experience that would affect
                     your ability to be fair and impartial in this case if you are
                     selected as a juror?




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 Prior investigations experience:

       25.    Has any member of the panel or a close friend or family
              member received any law enforcement training by a police
              department, the military, or a private security firm?

              a.    Who received the training?

              b.    Describe the type of training received.

              c.    Who provided the training?

       26.    Has any member of the panel or a close friend or family
              member ever engaged in private security work or private
              detective work?

              a.    Who?

              b.    What type of work?

 Evidence:

       27.    Would any of you tend to disbelieve the testimony of a police
              officer or federal agent solely because that person is a law
              enforcement officer?

 Ability to follow the Court’s instructions:

       28.    At the close of the case, the judge will instruct you on the law
              you must apply to the facts of this case. Is there anyone who
              would be unwilling to follow the Judge’s instructions on the
              law?

       29.    Is there anyone who holds any beliefs, from whatever source,
              that would cause you to refuse to convict a person, even though
              you felt the evidence proved that person was guilty beyond a
              reasonable doubt?

       30.    If you were selected to sit as a juror in this case, is there anyone
              who would be unwilling or unable to render a verdict based

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               solely on the evidence presented during the trial in this case
               and the law provided by the Court – disregarding any other
               previous ideas about the law that you may have encountered?

 Ability to sit as a juror:

        31.    Is there anyone who has any problems with hearing or sight or
               any other physical or medical problems that might impair your
               ability to sit as a juror in this case and to devote full attention to
               this trial?

        32.    Is there anything that we have not asked you that could
               negatively impact your ability to serve as a fair and impartial
               juror?




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                             Certificate of Service

The United States Attorney’s Office served this document today by filing it using
the Court’s CM / ECF system, which automatically notifies the parties and counsel
of record.



June 29, 2021


                                         /s/ T HEODORE S. H ERTZBERG

                                         T HEODORE S. H ERTZBERG
                                         Assistant United States Attorney
